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  16
                             CENTRAL DISTRICT OF CALIFORNIA
  17
                                       WESTERN DIVISION
  18
  19
       Jenny Lisette Flores, et al.,               Case No. CV 85-4544-RJK(Px)
  20
                        Plaintiffs,                Plaintiffs’ First Set Of Exhibits In
  21                                               Support Of Motion For Class-Wide
             v.                                    Enforcement Of Settlement [Part 5:
  22                                               Exhibits 11-16]
       Jeh Johnson, Secretary, U.S. Department
  23   of Homeland Security, et al.,               Hearing: March 9, 2015
                                                   Time:    TBD
  24                    Defendants.                Dept:    TBD
  25
  26
                                       PUBLIC VERSION
  27
                                                              PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                         SUPPORT OF MOTION FOR CLASS-WIDE
                                                                   ENFORCEMENT OF SETTLEMENT
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                      DECLARATION OF CAROL ANNE DONOHOE

       I, Carol Anne Donohoe, declare and say as follows:

       1. I am an attorney licensed to practice in the state of Pennsylvania. In the

 course of my practice I regularly represent immigrant and refugee children and

 their mothers detained pursuant to the Immigration and Nationality Act and housed

 at the Berks Family Residential Center detention center located in Leesport,

 Pennsylvania (hereinafter “Berks”). I have had regular occasion to observe, and

 am accordingly familiar with, the policies and practices of United States

 Immigration and Customs Enforcement (ICE) toward the detention, release, and

 treatment of children and mothers detained at Berks, as well as how those policies

 and practices have changed over time.

       2. Prior to June 2014, ICE regularly released mothers and children without

 substantial delay, provided the agency determined that those released would not

 abscond or endanger the public. This release policy applied uniformly to those

 accused of having entered the United States without inspection, to those

 apprehended as “arriving” aliens, and to those placed in “expedited” removal

 proceedings.

       3. Beginning in about June, ICE reversed this policy and practice. The

 agency now detains uniformly all families from Guatemala, Honduras, and El

 Salvador, whom ICE believes came to the U.S. as part of the “surge” of




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 unauthorized entrants, mostly children, which reportedly began in the summer of

 2014. Those who had a prior removal order or who are considered to be “arriving

 aliens” are no longer allowed to be paroled or released on bond. Those who came

 in “EWI” (entered without inspection) may be eligible for a bond but the bonds are

 often set ridiculously high. The ostensible justification for this no-release policy is

 that Central American parents and children threaten U.S. national security and

 should be detained without possibility of release to ameliorate that risk, to deter

 future unauthorized migration from Central America, and that Central American

 parents and children present a flight risk if they are released. However, in my

 experience, and the statistics show, most individuals who are released from

 detention do not pose a significant flight risk and do appear in court after their

 release.

       4. To the best of my knowledge and belief, ICE never gave the public any

 notice that it intended to reverse its prior release policy, nor was the public ever

 allowed to comment on the merits of that policy change.

       5. ICE applies its current no-release policy uniformly to all Central

 American children and their mothers: that is, without regard to an individual

 child’s age, reasons for coming to the United States, family ties in the United

 States, eligibility for lawful status or favorable exercise of prosecutorial discretion,

 credible fear of persecution abroad, likelihood to abscond, or the child’s safety or
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  the safety of others. To my knowledge, families who ICE believes came to the

  U.S. as part of the “surge” are the only class of non-criminal migrants detained

  without possibility of release. A significant majority of these families are Central

  American mothers and children. In contrast, the Office of Refugee Resettlement

  (ORR) continues to release unaccompanied Central American “surge” children to

  qualified custodians. As things now stand, a criminal transferred to ICE custody

  has a better chance of being released than a Central American child or mother.

        5. In the wake of ICE’s change of policy and practice, the long-term

  detention of Central American children and their parents has risen dramatically.

  Prior to June 2014 I estimate the average length of time a parent and child would

  spend detained at Berks was approximately twelve days. Around April 2014, I

  visited the Berks facility, and I believe there were about 14 persons in total housed

  there at that time. Since the change in ICE’s detention policy, detainees are simply

  not being released, and most detainees have spent several months at the Berks

  facility. The population of the facility has now ballooned to some 88 persons,

  more than half of whom are children. The facility is planning to open another floor

  and double its capacity by the beginning of the year.

        The last detainees I can recall being released from Berks were freed in June

  2014, and I am personally aware of more than one family that has now been

  detained there for over six months, with no end to detention in sight.
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         6. The facility at Berks is clearly secure. The facility doors are locked and

  guarded, and ingress and egress are controlled via jail-like security procedures. To

  my knowledge, children detained at Berks are never allowed outside the grounds of

  the facility, except perhaps to receive medical treatment the facility is not equipped

  to provide internally, and to get haircuts. Schooling takes place inside the locked

  doors of the facility. There are two classrooms for all school-age children of

  various abilities. Detainees are under the observation of staff members at all times.

  Visitation is tightly regulated. Since the change in ICE policies, the process for

  obtaining clearance to enter the facilities has become more onerous. Before the

  change, I was able to bring individuals such as interpreters and counselors to

  meetings with my clients with minimal difficulty. Now, the approval process can

  take longer than a week, and the process includes inquiries into the purpose of the

  individual’s presence in the building. I am not aware that the staff of Berks has

  been given any training in caring for dependent children under applicable state

  laws and standards.

         7. Among my clients whose experience is illustrative of the foregoing are

  L-E-T, a 6-year-old native and citizen of Honduras and a member of the class

  protected under the settlement in Flores, et al. v. Holder, et al., No. 85-4544 (C.D.

  Cal), and his mother, P-T-R, a 22-year-old native and citizen of Honduras, as well

  as his 3 year old sister.
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        8. L-E-T’s mother had been previously brought to the U.S. against her will

  as a victim of trafficking. When picked up by Border Patrol she requested to be

  sent back to Honduras because she had not come willingly to the U.S. Even

  though she had not come of her own accord, she was issued an order of removal.

        Back in Honduras, L-E-T’s mother worked to get her life back together . She

  opened a business. Neighbors of hers, who were related to a gang boss, demanded

  that she pay rent. She was able to do so for a while but they kept raising the

  amount. They beat her to try to get the money. One time they dragged her to the

  middle of the town and beat her in front of everyone. L-E-T (who was then 5-years

  old) came rushing out to help her. The gang member grabbed L-E-T and pushed

  him into the concrete ditch, splitting his head open. They continued to beat his

  mother, who ended up hemorrhaging. L.E.T’s mother was unable to hide from the

  gang so she fled with her young children to the U.S.

        9. On May 14, 2014, L-E-T.and P-T-R., along with L.E.T’s then 2 year old

  sister, were taken into custody near Hidalgo, Texas. They were thereafter held in

  the “freezer” (la Hielara) at a Border Patrol facility for several days before being

  transferred to the detention facility in Leesport, PA. ICE gave class member P-T-R

  (L-E-T’s mother) a list of free legal services providers. However, when she

  attempted to call the numbers listed, there was no response. ICE gave P-T-R a

  Notice of Custody Determination which stated she could request a review by an
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  Immigration Judge (“IJ”). ICE did not inform P-T-R that, according to their new

  policy, she was not actually entitled to a custody redetermination before an IJ

  because she had a prior order of removal. ICE has never given P-T-R a notice of

  the reasons she and her children are being housed in a secure facility. ICE has

  made no effort to release L-E-T, his mother, or his younger sister to family

  members or anyone else qualified to care for him.

        11. I believe that continuing to detain class members such as L-E-T is

  inflicting irreparable harm on them. Over the course of their detention, I have

  observed multiple children lose weight at an alarming rate, with younger children

  especially seriously affected. Many mothers report that their children are unable to

  eat the food that is served at Berks. I have observed multiple children fall ill while

  detained at Berks. Contributing to the rampant sickness among children detained

  at Berks is the tight regulation of medical services. To the best of my knowledge

  and belief, detainees who are ill are not permitted to see a doctor unless they have a

  fever higher than 100 degrees, and even obtaining an aspirin to treat a headache

  requires approval from a doctor. If they are sick, they are instructed to gargle with

  salt water.

        Children detained at Berks are also suffering loss of educational opportunity.

  The school-aged children detained at Berks are separated into two classrooms, and

  the children in each classroom span a wide range of education levels. As a result,
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  many of my clients report that they do not know what grade level their children are

  in and that they are making minimal progress in their education.

        In addition, as families spend longer and longer periods detained, tensions in

  the facility have increased, causing significant stress and anxiety to children

  detained in Berks. Part of the increased strain is due to the fact that, to my

  knowledge, only one member of the Berks staff speaks Spanish, and the vast

  majority of people detained at Berks are either monolingual Spanish speakers or

  speakers of indigenous languages.

        I have received multiple reports indicating that many children in the facility

  cry every day. Conditions in Berks are so difficult for children that many mothers

  are reluctant to take any additional time necessary to develop their potentially

  meritorious cases. Finally, continuing to detain class members at Berks is having

  significant negative effects on family integrity. Many of these children have

  family members, even siblings, living outside of Berks who they are unable to see.

  Simply put, the children detained at Berks are losing their chance to be children.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed this 15th day of November, 2014, at Reading, Pennsylvania.



                                   Carol Anne Donohoe                       ///


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